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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                                     CASE NO. 18-71768-pmb

 EARL E. CLOUD, III                                         CHAPTER: 7

            Debtor.                                         JUDGE: PAUL M. BAISIER
 MATRIX FINANCIAL SERVICES
 CORPORATION                                                CONTESTED MATTER
            Movant,
 V.

 EARL E. CLOUD, III
             Debtor,

 S. GREGORY HAYS
             Trustee,

                  Respondents.

                                     NOTICE OF HEARING
       PLEASE TAKE NOTICE that MATRIX FINANCIAL SERVICES CORPORATION has filed
a Motion for Relief from Automatic Stay and related papers with the Court seeking an order lifting the
automatic stay to allow foreclosure.

         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for
Relief from Automatic Stay at 9:00 A.M. on June 29, 2023, in Courtroom 1202, United States
Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303, which may be attended in person or
via the Court’s Virtual Hearing Room. You may join the Virtual Hearing Room through the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the homepage of the Court’s website,
www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be found on the Court’s
website. Please also review the “Hearing Information” tab on the judge’s webpage for further information
about the hearing. You should be prepared to appear at the hearing via video, but you may leave your
camera in the off position until the Court instructs otherwise. Unrepresented persons who do not have
video capability may use the telephone dial-in information on the judge’s webpage.

        Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you
do not have an attorney, you may wish to consult one.) If you do not want the court to grant the relief
sought in these pleadings or if you want the court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleading with the Clerk at the address
stated below, but you are not required to do so. If you file a written response, you must attach a certificate
stating when, how and on whom (including addresses) you served the response. Mail or deliver your
response so that it is received by the Clerk at least two business days before the hearing. The address of
the Clerk is: United States Bankruptcy Court, 75 Ted Turner Drive, SW, Room 1340, Atlanta, GA
30303.
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        If a hearing on the Motion for Relief from the Automatic Stay (the “Motion”) cannot be held
within thirty (30) days, Movant waives the requirement for holding a preliminary hearing within thirty
(30) days of filing the motion and agrees to a hearing on the earliest possible date. If a final decision
cannot be rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic stay
remaining in effect until the Court orders otherwise.

Dated: May 26, 2023
                                                          Respectfully Submitted,

                                                          /s/ Laura A. Grifka____________
                                                          Laura A. Grifka, (GBN 312055)
                                                          Counsel for Movant
                                                          MCMICHAEL TAYLOR GRAY, LLC
                                                          3550 Engineering Drive, Suite 260
                                                          Peachtree Corners, GA 30092
                                                          Telephone: (404) 474-7149
                                                          Facsimile: (404) 745-8121
                                                          E-mail: lgrifka@mtglaw.com
                                                          MTG File No. 23-000221
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                 CASE NO. 18-71768-pmb

 EARL E. CLOUD, III                                     CHAPTER: 7

            Debtor.                                     JUDGE: PAUL M. BAISIER
 MATRIX FINANCIAL SERVICES
 CORPORATION                                            CONTESTED MATTER
            Movant,
 V.

 EARL E. CLOUD, III
            Debtor,

 S. GREGORY HAYS
            Trustee,

                Respondents.

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

       COMES NOW MATRIX FINANCIAL SERVICES CORPORATION(“Movant”), a secured
creditor in the above-captioned case, by and through counsel, and moves this Court to enter an order
granting its request for relief from the automatic stay imposed by 11 U.S.C. § 362 and respectfully
shows this Court as follows:
       1.      On December 30, 2018, Debtor filed a Ch. 7 petition with the Bankruptcy Court for
the Northern District of Georgia.
       2.      Movant is the holder of a Promissory Note in the original principal amount of
$335,350.00 dated December 29, 2016, and signed by the Debtor as borrower (hereinafter “Note”).
Said Note is secured by a perfected Security Deed recorded with the Dekalb County, Georgia Clerk
of Superior Court in Book 26011 at Page 401 on January 4, 2017 (hereinafter “Mortgage”), which
describes real property owned by the Debtor know as: 208 Buchanan Terrace, Decatur, GA 30030
(hereinafter “Property”). A copy of the Note, Security Deed, Allonge(s), and Assignment(s) of
Mortgage, are attached hereto as Exhibit A respectively.
       3.      The Note is either made payable to Movant or has been duly indorsed. Movant,
directly or through an agent, has possession of the Note. Movant is the original mortgagee or the
beneficiary or the assignee of the Mortgage.
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        4.        The payoff, exclusive of legal fees and expenses incurred in connection with the
instant motion, due and owing to the Movant as of April 12, 2023, is approximately $334,111.67.
        5.        The fair market value of the Property according to the Debtor’s Schedule A/B is
$375,000.00. Based on the total indebtedness of the Debtor to Movant of $334,111.67 and value of
the property, there is equity in said property as it is not the Debtor’s principal residence.
        6.        The Debtor’s Statement of Intention filed herein provides that the Debtor wishes to
retain the property; and, Debtor previously entered into a Reaffirmation Agreement. However,
subsequently failed to make the payments. Debtor is in breach of the terms of the Note and Security
Deed by failing to make the contractual payments and is now due for the March 1, 2022 payment. A
summary of the arrearages are as follows:


             Monthly Payment Amount         Contractual Months Owed                Total

                     $3,072.27               03/01/2022 – 01/01/2023            $33,794.97
                                                   (11 missed)
                     $2,970.04               02/01/2023 – 05/01/2023             $11,880.16
                                                    (4 missed)
             Less Suspense Credit                                                {$0.00}
             Total Amount Due                                                   $45,675.13



        7.        Cause exists for relief from the automatic stay. Mortgage payments are not being
made to the Movant. As such, Movant’s interests are not adequately protected.
        8.        In the event the automatic stay in this case is modified, this case dismisses, and/or the
 Debtor obtains a discharge, and a foreclosure action is commenced on the mortgaged property, the
 foreclosure will be conducted in the name of Movant or Movant’s successor or assignee.
        WHEREFORE, Movant prays the Court as follows:
        1.        Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
security interest in the Property including but not limited to any non-bankruptcy remedies to
foreclose and obtain possession;
        2.        Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay;
        3.        Movant specifically requests permission to communicate with the Debtors and
Debtor’s counsel to the extent necessary to comply with applicable non-bankruptcy law; and
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      4.   Grant Movant such other and further relief as the Court deems just and proper.

                                                 Respectfully Submitted,

                                                 /s/ Laura Grifka____________
                                                 Laura Grifka, (GBN # 312055)
                                                 MCMICHAEL TAYLOR GRAY, LLC
                                                 Attorney for Movant
                                                 3550 Engineering Drive, Suite 260
                                                 Peachtree Corners, GA 30092
                                                 Telephone: (404) 474-7149
                                                 Facsimile: (404) 745-8121
                                                 E-mail: lgrifka@mtglaw.com
                                                 MTG File No.:23-000221-02
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below, I electronically filed the foregoing Motion for
Relief from Automatic Stay and Notice of Hearing with the Clerk of Court using the CM/ECF system
which will automatically send an e-mail notification of such filing to the parties or attorneys of record. I
have also on this day caused a copy of the pleading to be placed in the first-class United States mail, postage
prepaid, addressed to the recipients not participating in the CM/ECF system. All parties served are as
follows:

Via U.S. Mail

Earl E. Cloud, III
24 Leslie Drive NE
Atlanta, GA 30307

Earl E. Cloud, III
208 Buchanan Terrace
Decatur, GA 30030

Via CM/ECF

G. Frank Nason, IV
Lamberth, Cifelli, Ellis & Nason, P.A.
Suite 435
6000 Lake Forrest Drive, N.W.
Atlanta, GA 30328

S. Gregory Hays                                            Herbert C. Broadfoot,II, P.C.
Hays Financial Consulting, LLC                             Buckhead Centre – Suite 555
Suite 555                                                  2964 Peachtree Road NW
2964 Peachtree Road                                        Atlanta, GA 30305
Atlanta, GA 30305

Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive SW
Atlanta, GA 30303


Dated: May 26, 2023                                        /s/ Laura Grifka____________
                                                           Laura Grifka, (GBN # 312055)
                                                           MCMICHAEL TAYLOR GRAY, LLC
                                                           Attorney for Movant
                                                           3550 Engineering Drive, Suite 260
                                                           Peachtree Corners, GA 30092
                                                           Telephone: (404) 474-7149
                                                           Facsimile: (404) 745-8121
                                                           E-mail: lgrifka@mtglaw.com
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